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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater         *   MDL NO. 2179
   Horizon” in the Gulf of Mexico, on April        *
   20, 2010                                        *   SECTION J
                                                   *
This document relates to all actions.              *
                                                   *   HONORABLE CARL J.
                                                   *   BARBIER
                                                   *
                                                   *   MAGISTRATE JUDGE
                                                   *   SHUSHAN
                                                   *

Bon Secour Fisheries, Inc., et al., individually   *   Civil Action No. 12-970
and on behalf of themselves and all others         *
similarly situated,                                *   SECTION J
                                                   *
  Plaintiffs,                                      *
                                                   *   HONORABLE CARL J.
v.                                                 *   BARBIER
                                                   *
BP Exploration & Production Inc; BP                *   MAGISTRATE JUDGE
America Production Company; BP p.l.c.,             *   SHUSHAN
                                                   *
     Defendants.


                                   [PROPOSED] ORDER

        The Court has considered BP’s Ex Parte Motion For Leave To Exceed Page Limitation

For Memorandum In Support Of BP’s Emergency Motion For A Preliminary Injunction Against

The Claims Administrator And Settlement Program To Enjoin Payments And Awards For

Business Economic Loss Claims Based On Fictitious “Losses” (the “Motion”); and all filings

related to that Motion.

        The Court ORDERS that BP’s Motion is GRANTED. BP shall be allowed 35 pages,

excluding exhibits, for BP’s Memorandum In Support Of Emergency Motion For A Preliminary
   Case 2:10-md-02179-CJB-DPC Document 8910-1 Filed 03/15/13 Page 2 of 2




Injunction Against The Claims Administrator And Settlement Program To Enjoin Payments And

Awards For Business Economic Loss Claims Based On Fictitious “Losses.”



      IT IS SO ORDERED.

      New Orleans, Louisiana, this _______ day of _________________, 2013.




                                                    United States District Judge




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